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                                       Statement of Facts
On May 18, 2025, at approximately 2:30 AM, Officers of the Metropolitan Police Department
(MPD) Third District were conducting a patrol within the Third District, wearing full MPD
uniform in fully marked cruisers. At approximately 2:30 AM, officers observed Defendant Derrell
WILLIAMS (“Williams”) with another individual passing back and forth a hand-rolled cigarette
on the sidewalk near 1338 U Street Northwest, Washington, District of Columbia 20009. Officers
observed WILLIAMS raise the hand-rolled cigarette to his lips, inhale, and exhale a cloud of white
smoke. Officers recognized this to be consistent with public consumption of marijuana and exited
their cruiser to make contact with WILLIAMS and the other individual. Upon exiting the vehicle,
the undersigned affiant, Officer Jose Moreno (“Officer Moreno”), along with Officer Andrew Wolf
(“Officer Wolf”), immediately smelled a strong odor of burnt marijuana. Marijuana is a Schedule
I controlled substance under federal law. Officers Moreno and Wolf also observed WILLIAMS
holding a black backpack across his chest.
Upon WILLIAMS noticing the officers’ presence, WILLIAMS immediately turned in the opposite
direction and ran down the sidewalk. Officer Wolf verbally ordered WILLIAMS to stop.
WILLIAMS continued to run, and then turned south into an alley in the 1300 block of U Street
NW. Officers Moreno and Wolf, along with Officer Jack Riegal (“Officer Riegal”) and Officer
Mohammad Al Khatib (“Officer Al Khatib”) engaged in a foot pursuit of WILLIAMS. Officers
Wolf and Moreno observed WILLIAMS throw his black backpack over a fence into the backyard
of a private residence. Officers Wolf and Moreno then observed WILLIAMS scale the fence into
the backyard. Officers gave loud verbal commands to WILLIAMS to lie on the ground and
surrender. WILLIAMS complied with the officers’ commands, and Officer Wolf placed
WILLIAMS in handcuffs. After a search of the backyard, Officer Wolf discovered the discarded
backpack several feet away from WILLIAMS. Officer Wolf opened the discarded backpack and
recovered a firearm.




                      Figure 1: Image of Firearm in the black backpack
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The firearm was later determined to be a black American Tactical M4E1 .556 caliber bearing serial
number M4-0104470. The firearm was loaded with one bullet in the chamber and an additional 13
rounds in magazine. The firearm was equipped with a laser sight.




                      Figure 2: Photo of Firearm, Ammunition, and Magazine
WILLIAMS’s identity was confirmed, and it was confirmed that WILLIAMS did not have a
license to carry a firearm in the District of Columbia. A criminal history check showed that
WILLIAMS was previously convicted :
   •   In 2024 in Fairfax County, Virginia Circuit Court case number FE-2023-0000520 of:
       Receiving, etc., stolen goods with a value over $1000 and sentenced to five years of
       incarceration with three years suspended.
Accordingly, WILLIAMS would have been aware that he was previously convicted of a crime
punishable by a term of imprisonment exceeding one year at the time he was possessing the firearm
and ammunition.
Your affiant is aware there are no firearm or ammunition manufacturers in the District of Columbia.
Therefore, the firearm and ammunition described above necessarily traveled in interstate
commerce before they were recovered in the District of Columbia.
As such, your affiant submits that probable cause exists to charge Derrell WILLIAMS with
violation of 18 U.S.C. § 922(g)(1) (Unlawful Possession of a Firearm and Ammunition By a
Person Convicted of a Crime Punishable by Imprisonment for a Term Exceeding One Year).




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                                                           ______________________________
                                                           Jose Moreno
                                                           Officer (Badge # 3262)
                                                           Metropolitan Police Department,
                                                           Washington, D.C.




Respectfully submitted and attested to in accordance with the requirements of Federal Rule of
Criminal Procedure 4.1 by telephone on May 22, 2025.



                                                          ______________________________
                                                          The Honorable Matthew J. Sharbaugh
                                                                United States Magistrate Judge




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